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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA      *
                               *
      v.                       *    CRIMINAL NO. TDC-20-33
                               *
 WILLIAM GARFIELD BILBROUGH    *
 IV,                           *
                               *
          Defendant            *
                               *
                            *******
      RESPONSE TO DEFENSE REQUEST FOR AN IMMEDIATE SENTENCING

       The defendant is scheduled to plead guilty on December 8, 2020. The defendant has

requested to proceed to sentencing immediately after pleading guilty. The Government has no

objection. If the sentencing took place at a later date, the Court likely would not gain additional

information necessary for sentencing. The Court already has received substantial briefing on the

defendant’s conduct when ordering the defendant’s pre-trial detention. See, e.g., ECF Nos. 77, 83,

86, 93; Case No. 20-mj-194-CBD, ECF No. 12. As part of that proceeding, the Court reviewed

additional briefing from two proceedings before Magistrate Judge Sullivan, as well as the

recordings of those proceedings. ECF No. 92. Additionally, the Court has the benefit of being

able to review the affidavits in support of search warrants and Title III authority submitted in

connection with the pending motions of the defendant’s co-defendants. ECF No. 124. The

Government has confirmed that the defendant has no criminal record. And as the Court is aware,

the parties have agreed to a specific term of imprisonment under Federal Rule of Criminal

Procedure 11(c)(1)(C).
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                                  Respectfully submitted,

                                  Robert K. Hur
                                  United States Attorney

                                  /s/
                                  Thomas P. Windom
                                  Assistant United States Attorney




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